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EXHIBIT A
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Filed: 9/1/2021 3:40 PM
Dana DeBeauvoir
Travis County Clerk

CAUSE NO.C-1-CV-21-004147 C-1-CV-21-004147
as Ruby Ontiveros
§
NATASHA SMITH §
§
Plaintiff, § IN THE COUNTY COURT NO. 2
§
V. §
§ TRAVIS COUNTY, TEXAS
BEXLEY 3FIVE §
APARTMENTS §
§
Defendant. §

PLAINTIFE’S ORIGINAL PETITION
Plaintiff, Natasha Smith, seeks damages against Defendant, Bexley 3FIVE apartments

for all damages to which Plaintiff is justly entitled. Plaintiff would respectfully show the Court

the following:
PARTIES & VENUE
1. Plaintiff is a resident of Travis County, Texas.
2. Defendant Bexley 3FIVE apartments (“Bexley”) is a corporation doing business

in the State of Texas. Defendant can be served at its primary place of business located at 8003 S.
IH 35, Austin, Texas 78744.

3. Venue of this lawsuit is proper in Travis County because Defendant’s primary
place of business is in this county, and all of the events giving rise to this lawsuit occurred in this
county.

DISCOVERY

4, This lawsuit will be conducted pursuant to a Level 3 discovery plan.
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FACTUAL BACKGROUND
5. Plaintiff Natasha Smith was a licensee at Bexley 3FIVE apartments. Plaintiff was
in the pool area and was using a walkway made of grates covering the pool to cross to the other

side. The grate gave way and Natasha fell, sustaining serious injuries.

CAUSES OF ACTION
Count J; Negligence
6. Plaintiff adopts and incorporates all of the allegations contained in paragraphs 1
through 5 herein. All conditions precedent have been met or have occurred. Defendant Bexley

3FIVE apartments was negligent and this negligence caused Plaintiff’s serious injuries.

Count I: Premises Liability
7. Plaintiff adopts and incorporates all of the allegations contained in paragraphs 1
through 6 herein. All conditions precedent have been met or have occurred. The Defendant is
liable for Natasha Smith’s injuries because:

(a) The Defendant knew or had reason to know of the dangerous conditions
on the property;

(b) The conditions posed an unreasonable risk of harm;

(c) The Defendant did not exercise reasonable care to reduce or eliminate the
risk; and

(d) The Defendant’s failure to use such care proximately caused Plaintiffs
injuries.

DAMAGES

8. Plaintiff seeks all available damages under Texas law
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9, Pursuant to TRCP 47(c), Plaintiff seeks monetary relief over $250,000.00 but not

more than $1,000,000.00.

REQUEST FOR JURY TRIAL & REQUESTED RELIEF

10. Plaintiff demands a jury trial.

11. Plaintiff respectfully requests that this cause be set for trial before a jury, and that
Plaintiff recovers judgment from Defendant for all damages to which she is justly entitled and
the jury may determine to be proper, together with pre-judgment and post-judgment interest, cost
of suit, and that Plaintiff have such other and further relief as she may justly show herself to be

entitled.

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